




02-12-019-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00019-CR

&nbsp;

&nbsp;


 
  
  Robert A. Jones
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM THE 432nd
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered the “Appellant=s Motion To Withdraw And
Dismiss Appeal.”&nbsp; The motion complies with rule 42.2(a) of the rules of
appellate procedure.&nbsp; Tex. R. App. P.
42.2(a).&nbsp; No decision of this court having been delivered before we
received this motion, we grant the motion and dismiss the appeal.&nbsp; See Tex.
R. App. P. 42.2(a),
43.2(f).

&nbsp;

PER
CURIAM

PANEL: GABRIEL, J.; LIVINGSTON, C.J.; and DAUPHINOT,
J.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: February 9, 2012&nbsp;









&nbsp;









[1]See
Tex. R. App. P. 47.4.







